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                                                February 21, 2025


 State of Maine
 Office of Governor Janet T. Mills
 1 State House Station
 Augusta, ME 04333

 Dannel P. Malloy
 Chancellor
 University of Maine System

 Office of the Attorney General
 6 State House Station
 Augusta, ME 04333
 attorney.general@maine.gov


 Re: Notice of Compliance Review (OCR Transaction Number: DO-25-610531-RV-CRR State of
 Maine)


 Dear Counsel:

 The U.S. Department of Health and Human Services’ (HHS) Office for Civil Rights (OCR) is
 initiating a compliance review of the Maine Department of Education (MDOE) based upon reports
 that the Maine Principal’s Association, which governs school sports in the state, will continue to
 allow transgender athletes to compete in women’s sports in violation of President Trump’s
 Executive Order (EO) 14201, “Keeping Men Out of Women’s Sports,” signed on February 5,
 2025. These reports were further confirmed by a statement issued by the Governor’s office on
 February 21, 2025.

 OCR enforces Title IX of the Education Amendments of 1972 1 (Title IX), which prohibits
 discrimination on the basis of sex in any educational program or activity that receives Federal
 financial assistance. OCR ensures compliance through enforcement activities and periodic reviews
 of HHS-funded institutions such as MDOE, including the University of Maine System. MDOE
 receives millions of dollars of taxpayer money. It may not accept that funding if it is in violation
 of the federal civil rights laws. This investigation will uncover whether that has, in fact, happened.

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     20 U.S.C. §168, as implemented by HHS at 45 C.F.R. Part 86.
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                                                                       U.S. Department          #: Human
                                                                                        Health and 24 Services
                                                                                               Office for Civil Rights
                                                                                 Headquarters ● Humphrey Building
                                                                200 Independence Ave S.W. ● Washington, D.C. 20201


 As stated in section 1 of EO 14201, under Title IX, “educational institutions receiving Federal
 funds cannot deny women an equal opportunity to participate in sports. In addition to this
 Executive Order, federal courts have recognized that ‘ignoring fundamental biological truths
 between the two sexes deprives women and girls of meaningful access to educational facilities.’
 Tennessee v. Cardona, 24-cv-00072 at 73 (E.D. Ky. 2024). See also Kansas v. U.S. Dept. of
 Education, 24-cv-04041 at 23 (D. Kan. 2024) (highlighting ‘Congress’ goals of protecting
 biological women in education’).”

 It is no answer for MDOE to assert that EO 14201 conflicts with state law, as Federal laws preempt
 conflicting state laws. See U.S. Const. art. 6, cl. 2.

 As a recipient of HHS Federal financial assistance, MDOE is obligated to comply with Title IX.
 OCR’s right of access to collect information to determine MDOE’s compliance status is found at
 45 C.F.R. § 80.6(c), (incorporated by reference at 45 C.F.R. § 86.71) which states:

        Each recipient shall permit access by the responsible department official or his
        designee during normal business hours to such of its books, records, accounts, and
        other sources of information and its facilities as may be pertinent to ascertain
        compliance with this part.

 The scope of this compliance review will determine whether MDOE denied the benefits of, or
 otherwise subjected female students in the State of Maine to discrimination on the basis of sex
 under Title IX.

 Please be advised that federal regulations prohibit covered entities from harassing, intimidating,
 or retaliating against individuals who participate in OCR investigations or compliance reviews.
 Any such action may constitute a violation of 45 C.F.R. § 80.7(e) (incorporated by reference at
 45 C.F.R. § 86.71). We request that you take all necessary steps to assure compliance with this
 prohibition.

 If you have questions, you may contact Daniel Shieh, Associate Deputy Director, at
 Daniel.Shieh@hhs.gov. When contacting this office, please remember to include the transaction
 number, referenced above, that we have given this file.

                                              Sincerely,




                                              Anthony F. Archeval
                                              Acting Director
                                              HHS, Office for Civil Rights




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